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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


    Pastor Rich Penkoski et. al.

    V.

    Muriel Bowser, In her official capacity as                 1:20-cv-01519-TNM
    Mayor of the District Of Columbia
    (Defendant)


         RESPONSE IN OPPOSITION TO THE DEFENDANT’S CROSS MOTION FOR
                             SUMMARY JUDGMENT

          NOW COMES the Plaintiffs in response in opposition to the Defendant’s cross motion

for Summary Judgment. 1 The Court should find that the Defendant’s motion for summary

judgment is ill taken because it was not submitted in good faith or based on the filing schedule

set by this Court. At best, the Defendant’s cross motion for Summary Judgment could be

construed as another delay tactic so that the Mayor can continue to trample our culture of rights

by conveying to everyone in the District that Secular Humanism as advocated by the dangerous

BLM cult is the favored religion of the District and of the Nation.

          The Defendant is well aware that (1) if the Court grants the Plaintiffs’ motion for

preliminary/permanent injunction, then it amounts to an automatic denial of the Defendant’s

cross motion for Summary Judgment and (2) if the Court denies the Plaintiffs’ motions for

preliminary/permanent injunction, it amounts to granting the Defendant’s cross motion for

summary judgment.



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  ​The day this Court issues its final ruling, third party attorneys will appear pro hac on behalf of
the non-lawyer Plaintiffs.Greg Degeyter Esq, Cynthia Burris Esq., Jason Rowe Esq. Till then, it
is just not necessary.
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       To save an enormous amount of judicial economy, the Plaintiffs re-incorporate and

re-allege all of their statements in their verified complaint, the declarations filed in support of

their cause of action, and all of the legal arguments raised in their memorandums in support of

their motions for preliminary/permanent injunction and their reply briefs.

       The Defendant’s motion for summary judgment should be denied for failing to live up to

the legal standard that it referenced in the memorandum in support. There are two major facts

that are indispute. First, the Defendant refuses to admit that Secular Humanism is a religion for

purposes of the First Amendment Establishment Clause, even though the Supreme Court and just

about all of the courts of appeals have repeatedly found that it is. Second, the Defendant refuses

to admit that Black Lives Matter is a religious organization that is inseparably linked to the

religion of Secular Humanism, even though the BLM co-founders admit that it is a religious

organization and eight theologians provided testimony that BLM is a denominal sect that is

inseparably linked to the religion of Secular Humanism. The Defendant has absolutely no

response to these facts other than to suggest that this Court should take her word for it that BLM

is not a religious organization.

       The Defendant’s motion cross motion for summary judgment is so void of merit and

good faith that the Court should deny the motion based on this simplified response. It is probably

not necessary that the Plaintiffs file this response since their motions for preliminary/permanent

injunction have been pending since June 29, 2020, but out of an abundance of caution and a

spirit of overkill, the response is submitted.
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/s/Tex Christopher/


                                    CERTIFICATE​OF​​ ​SERVICE

A​​ true​​ ​copy​​ ​of​​ ​the​​ ​foregoing​​ ​was emailed through ECF and mailed to the following address on
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/s/Chris Sevier Esq./
